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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 INTERSPORT CORP. d/b/a WHAM-O,

               Plaintiff,                               Case No.: 1:24-cv-06769

        v.                                              Judge Matthew F. Kennelly

 THE PARTNERSHIPS AND                                   Magistrate Judge Jeannice W. Appenteng
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

               Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

              NO.                                    DEFENDANT
               92                                   FENGBIN Co.Ltd
              119                                   PENGHE Co.Ltd


DATED: September 26, 2024                           Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    33 W. Jackson Blvd., #2W
                                                    Chicago, Illinois 60604
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                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:24-cv-06769 Document #: 63 Filed: 09/26/24 Page 2 of 2 PageID #:1393




                                CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 26, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
